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                                               #:302



 1   YAAKOV M. ROTH
     Acting Assistant Attorney General
 2   Civil Division
 3   LESLEY FARBY
 4   Deputy Director
     Civil Division, Federal Programs Branch
 5
     CRISTEN C. HANDLEY
 6   Trial Attorney
     United States Department of Justice
 7   Civil Division, Federal Programs Branch
 8   1100 L Street, NW
     Washington, DC 20005
 9   Telephone: (202) 305-2677
     Email: cristen.handley@usdoj.gov
10
     Counsel for United States of America
11
12                                  UNITED STATES DISTRICT COURT
13                             FOR THE CENTRAL DISTRICT OF CALIFORNIA
14
15 TERESA     TURNER, individually and on behalf
   of all others similarly situated,
                                                       Case No. 2:25-cv-00334-FMO-PD

16                                                     STIPULATION TO EXTEND
                  Plaintiff,                           UNITED STATES’ DEADLINE
17                                                     TO INTERVENE
                          v.
18 NATIONAL NOTARY ASSOCIATION,
19           Defendant.
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     STIPULATION TO EXTEND UNITED
     STATES’ DEADLINE TO INTERVENE
     Case 2:25-cv-00334-FMO-PD            Document 31         Filed 05/01/25      Page 2 of 5 Page ID
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 1          IT IS HEREBY STIPULATED by and between Plaintiff Teresa Turner, Defendant National

 2   Notary Association, and Interested Party United States of America, through their counsel, that the United

 3   States’ deadline to intervene in this matter be extended by 45 days, from May 16, 2025 to June 30, 2025.

 4   Good cause exists to approve this stipulated extension.

 5          On March 17, 2025, Defendant National Notary Association (“Defendant”) filed a Notice of

 6   Constitutional Question in this matter pursuant to Federal Rule of Civil Procedure 5.1. See ECF No. 20.

 7   In that Notice, Defendant states that its Motion to Dismiss Plaintiff’s Complaint, see ECF No. 14,

 8   “challeng[es] the constitutionality of the Video Privacy Protection Act, 18 U.S.C. § 2710,” and

 9   specifically “argues that the VPPA facially and as applied violates the First Amendment and Due Process

10   Clause of the Fifth Amendment of the United States Constitution.” ECF No. 20 at 1-2. Pursuant to the

11   briefing schedule entered by this Court, see ECF No. 19, Plaintiffs filed their opposition to Defendant’s

12   motion to dismiss on April 10, 2025, see ECF No. 27, and Defendant filed its reply on April 17, 2025,

13   see ECF No. 28.

14          The United States is authorized to intervene in any federal court action in which the

15   constitutionality of an Act of Congress is drawn into question. 28 U.S.C. § 2403(a). Counsel for the

16   United States respectfully advises the Court that the United States has not yet decided whether to

17   intervene in this action to defend the constitutionality of the VPPA. The approval of the Solicitor General

18   is required for the United States to intervene in an action to defend the constitutionality of a federal

19   statute, see 28 C.F.R. § 0.21, and that approval process often takes several weeks.

20          Pursuant to Rule 5.1(c), the current deadline for the United States to intervene is May 16, 2025.

21   However, notice of this constitutional challenge only recently came to the attention of the component of

22   the Department of Justice responsible for recommending to the Solicitor General whether intervention is

23   warranted, including undersigned counsel. Accordingly, because the approval process often takes several

24   weeks and in light of the press of other litigation in which the United States is a party, the United States

25   respectfully requests that the Court enter this Stipulation to extend by 45 days the deadline to decide

26   whether to intervene for the limited purpose of defending the constitutionality of the VPPA, up to and

27   including June 30, 2025. If the United States decides to intervene, it will be prepared to file its notice of

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     STIPULATION TO EXTEND UNITED
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 1   intervention and accompanying memorandum in defense of the constitutionality of the statute no later

 2   than June 30, 2025.

 3          The requested extension is requested for good cause and is not intended to cause undue delay or

 4   otherwise prejudice any party. Undersigned counsel for the United States has conferred with counsel for

 5   all parties in order to prepare this Stipulation, who consent to the requested extension. The United States

 6   has not previously requested any extension of time in this matter.

 7          WHEREFORE, the parties respectfully submit this Stipulation to the Court for its approval.

 8
     Date: May 1, 2025                             YAAKOV M. ROTH
 9                                                 Acting Assistant Attorney General
                                                   Civil Division
10
11                                                 LESLEY FARBY
                                                   Deputy Director
12                                                 Civil Division, Federal Programs Branch

13                                                 /s/Cristen C. Handley
                                                   CRISTEN C. HANDLEY (MO Bar No. 60114)
14                                                 Trial Attorney
15                                                 United States Department of Justice
                                                   Civil Division, Federal Programs Branch
16                                                 1100 L Street, NW
                                                   Washington, DC 20005
17                                                 Telephone: (202) 305-2677
                                                   Email: cristen.handley@usdoj.gov
18
19                                                 Counsel for United States of America

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     STIPULATION TO EXTEND UNITED
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     Case 2:25-cv-00334-FMO-PD           Document 31         Filed 05/01/25     Page 4 of 5 Page ID
                                               #:305
                                                  FRANK S. HEDIN (SBN 291289)
                                                  HEDIN LLP
 1                                                535 Mission Street, 14th Floor
                                                  San Francisco, CA 94105
 2                                                Telephone: (305) 357-2107
                                                  Facsimile: (305) 200-8801
 3                                                E-Mail: fhedin@hedinllp.com

 4                                                Counsel for Plaintiff and Putative Class

 5                                                CLARK HILL LLP
                                                  Myriah Jaworski (SBN 336898)
 6                                                mjaworski@clarkhill.com
 7                                                Ali Bloom (SBN 347446)
                                                  abloom@clarkhill.com
 8                                                One America Plaza 600 West Broadway, Suite 500
                                                  San Diego, CA 92101
 9                                                Telephone: (619) 557-0404
                                                  Facsimile: (619) 557-0460
10
11                                                Chirag H. Patel (pro hac vice)
                                                  cpatel@clarkhill.com 130 E. Randolph Suite 3900
12                                                Chicago, IL 60601
                                                  Telephone: (312) 985-5900
13                                                Facsimile: (312) 985-5999
14                                                Attorneys for Defendant National Notary Association
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16
17                              ATTESTATION UNDER LOCAL RULE 5-4.3.4

18           I, Cristen C. Handley, am the ECF User whose ID and password are being used to file this
     Stipulation. In compliance with Local Rules 5-4.3.4(a)(2), I hereby attest that Plaintiff’s counsel, Frank
19   Hedin, and Defendant’s counsel, Chirag Patel, have concurred in this filing.

20   DATED: May 1, 2025
                                                  /s/Cristen C. Handley
21                                                CRISTEN C. HANDLEY
                                                  Trial Attorney
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     STIPULATION TO EXTEND UNITED
     STATES’ DEADLINE TO INTERVENE
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 1                               DECLARATION OF CRISTEN C. HANDLEY

 2          I, Cristen C. Handley, declare:

 3          1. I am a trial attorney with the United States Department of Justice, Civil Division, and have

 4   entered an appearance on behalf of the United States as an Interested Party in the above-captioned case.

 5          2. On April 23, 2025 and April 29, 2025, I met and conferred with Plaintiff’s counsel, Frank

 6   Hedin, and Defendant’s counsel, Chirag Patel, via e-mail regarding the Government’s contemplated

 7   request for a 45-day extension of its deadline to intervene in this matter. Counsel for Plaintiff and

 8   Defendant responded via e-mail that they do not oppose the Government’s request. Accordingly, I

 9   prepared this Stipulation and Proposed Order and provided it to counsel for their review. Counsel

10   approved.

11          I declare under penalty of perjury that the above is true and correct.

12          Executed this 1st day of May, 2025.

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14                                                /s/Cristen C. Handley
                                                  CRISTEN C. HANDLEY
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     STIPULATION TO EXTEND UNITED
     STATES’ DEADLINE TO INTERVENE
